EAP:nab
AD 93 (Rev. 12/09) Search and Seizure Warrant                                                                     2020R00489


                                       UNITED STATES DISTRICT COURT
                                                                for the
                                                        District of Minnesota

   IN THE MA ITER OF THE SEARCH OF                                FILED UNDER SEAL IN ACCORDANCE WITH 18
   HOTEL IVY, 20 I SOUTH II lH STREET,                            U.S.c. § 3509(d)(2) AND LOCAL RULE 49.l(c)(l)(G)
   UNIT 1920 IN MINNEAPOLIS, MINNESOTA
                                                                   Case No. 20-mj-913 (KMM)


                                                SEARCH AND SEIZURE WARRANT
   To:             Any authorized law enforcement officer

        An application by a federal law enforcement officer or an attorney for the government requests the search
   of the following person or property located in the State and District of Minnesota:

              See Attachment A, incorporated here.

          The person or property to be searched, described above, is believed to conceal:

              See Attachment B, incorporated here.

       I find that the affidavit(s), or any recorded testimony, establish probable cause to search and seize the person or
   property.

           YOU ARE COMMANDED to execute this warrant on or before                  December 28,2020
                                                                                     (not to exceed 14 days)
                  in the daytime 6:00 a.m. to 10 p.m.                _ at any time in the day or night as I fmd reasonable
                  cause has been established.

      The officer executing this warrant, or an officer present during the execution of the warrant, must prepare an
  inventory as required by law and promptly return this warrant and inventory to the current United States Magistrate
  Judge on duty.


Date and Time issued:

City and State: Minneapolis, MN                                      The Honorable Katherine M. Menendez
                                                                     United States Magistrate Judge
                                                                                         Printed Name and Title
EAP:nab
AO 106 (Rev. 04/10) Application for a Search Warrant
                                                                                                                             2020R00489




                                              UNITED STATES DISTRICT COURT
                                                                         for the
                                                                 District of Minnesota


   IN THE MATTER OF THE SEARCH OF                                          FILED UNDER SEAL IN ACCORDANCE WITH 18
   HOTEL IVY, 201 SOUTH 11THSTREET,                                        U.S.C. § 3509(d)(2) AND LOCAL RULE 49.l(c)(1)(G)
   UNIT 1920 IN MINNEAPOLIS, MINNESOTA

                                                                            Case No. 20-mj-913 (KMM)



                                                   APPLICATION FOR A SEARCH WARRANT
       I, Richard A. Waller, a federal law enforcement officer or an attorney for the government, request a search
   warrant and state under penalty of perjury that I have reason to believe that on the following person or property:
          See Attachment A, incorporated                  here

   located in the State and District of Minnesota, there is now concealed:

          See Attachment B, incorporated                  here

          The basis for the search under Fed. R. Crim. P. 41(c) is (check one or more):
                      X             evidence of a crime;
                      X             contraband, fruits of crime, or other items illegally possessed;
                      X             property designed for use, intended for use, or used in committing a crime;
                                    a person to be arrested or a person who is unlawfully restrained.

          The search is related to a violation of:

                                     Code Section                                               Offense Description

Title 18, United States Code, Section 1591                                    Sex Trafficking
Title 18, United States Code, Section 1594                                    Conspiracy to Commit Sex Trafficking
Title 18, United States Code, Section 2251                                    Production and Attempted Production of Child
                                                                              Pornography
Title 18, United States Code, Section 2252(a)                                 Distribution and Possession of Child Pornography

          The application is based on these facts:
          See Affidavit, incorporated              here
           X                Continued on the attached sheet.




SUBSCRIBED and SWORN before me by reliable
electronic means (FaceTime and email) pursuant to
                                                                        c                          Applicant's   Signahlre



Fed. R. Crim. P. 41(d)(3)                                                     Richard A. Waller, Special Agent
                                                                              Federa1 Bureau of Investigation
Date:       ..Jl.e.,c...   (I..{,   2..c ;t<:::>



City and State: Minneapolis, MN                                                The Honorable Katherine M. Menendez
                                                                               United States Magistrate Judge
                                                                                                  Printed Name and Tille
AO 93 (Rev. 12/09) Search and Seizure Warrant (Page 1)


                                                                   Return
Case No.:                             Date and time warrant executed:
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Inventory made in the presence of:
                                             AV\     +-~ La."2- ~c-..Ie>
Inventory o/the property taken and name of any person(s) seized:




                                                       Cern ,cation
       I declare under penalty of perjury that this inventory is correct and was returned along with the original
warrant to the designated judge.

SUBSCRIBED and SWORN before me by reliable
electronic means (FaceTime and email) pursuant to
Fed. R. Crim. P. 41(d)(3)


Date:
                                                                                  Executing officer's signature
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                                                                                                     ~     (!~t_
                                                                                    Printed Name and Title




             United States Magistrate Judge
 STATE OF MINNESOTA
                                    Case No. 20-mj-913 (KMM)
COUNTY OF HENNEPIN
                                    Filed under seal pursuant to Local Rule
                                    49.1(c)(I)(G) and 18 U.S.C. § 3509


             AFFIDA VIT IN SUPPORT OF AN APPLICATION FOR A
                     WARRANT TO SEARCH AND SEIZE

       I, Richard A. Waller, a Special Agent with the Federal Bureau of Investigation,

being duly sworn under oath, depose and state as follows:


                  INTRODUCTION AND AGENT BACKGROUND


       1.     I make this affidavit in support of an application under Rule 41 of the Federal

Rules of Criminal Procedure for a search warrant authorizing the seizure of property

described in Attachment B. Specifically, I seek authorization to search the residence of

Anton Lazzaro (hereinafter Lazzaro), (DOB xxlxxlI990), which is located at the Hotel Ivy,

201 South 11th Street, Unit 1920, in Minneapolis, Minnesota and his person. The applied-

for warrant would authorize the seizure and forensic examination of electronic devices for

the purpose of identifying and seizing electronically stored data and other evidentiary items

particularly described in Attachment B.


       2.     I am a Special Agent with the Federal Bureau of Investigation ("FBI") and

have been since 1996. I am currently assigned to the Minneapolis FBI Field Office. I have

worked multiple investigations involving sex trafficking, child pornography, and money

laundering offenses and have also supervised agents in such investigations.
       3.     This affidavit is intended to show only that there is sufficient probable cause

for the requested warrant and does not set forth all of my knowledge about this matter.


       4.     Based on the facts set forth in this affidavit, there is probable cause to believe

that Lazzaro has committed violations of Title 18, United States Code, Sections 1591 and

1594 (sex trafficking and conspiracy to commit sex trafficking), 2251 (production and

attempted   production    of   child   pornography),    2252(a)(2)    (distribution   of   child

pornography), and 2252(a)(4) (possession of child pornography).        There is also probable

cause to search the property described in Attachment A for evidence of these crimes, as

further described in Attachment B.


       5.     Sex trafficking of a minor occurs when, in or affecting interstate or foreign

commerce, an individual recruits, entices, harbors, transports, provides, obtains, maintains,

patronizes, or solicits by any means an individual knowing or in reckless disregard or with

a reasonable opportunity to observe that the individual has not attained the age of 18 and

will be caused to engage in commercial sex acts.


       6.     Production of child pornography       occurs when a person employs, uses,

persuades, induces, entices, or coerces any minor to engage in, or who has a minor assist

any other person to engage in, any sexually explicit conduct for the purpose of producing

any visual depiction of such conduct if that visual depiction was produced or transmitted

using materials that have been mailed, shipped, or transported in or affecting interstate or

foreign commerce by any means, including by computer.
        7.     Distribution and possession of child pornography occurs when a person

 knowingly distributes or knowingly possesses matters which contain any visual depiction

 that has been transported using any means or facility of interstate or foreign commerce or

 in or affecting interstate or foreign commerce, or which was produced using materials

 which have been mailed or so shipped or transported, by any means including by computer,

when the producing of such visual depiction involves the use of a minor engaging in

sexually explicit conduct and such visual depiction is of such conduct.


        8.     Over the last two months, I have interviewed witnesses and reviewed

Snapchat communication and other records. Based on my investigation, I believe Lazzaro

has conspired with Gisela Castro Medina (DOB xx/xxl2002)            to recruit, entice, harbor,

transport, obtain, and patronize girls to engage in sexual acts with Lazzaro in exchange for

cash and other things of value such as cellular telephones, vaping pens, alcohol, and

accommodations in the Hotel Ivy. Based on my knowledge of this investigation, Lazzaro

conspired with Medina by directing her to identify girls on social media. Once identified,

Medina would share images of the girls with Lazzaro via Snapchat and if he approved,

Medina would recruit and entice the girls via Snapchat to have sex with Lazzaro in

exchange for money.     Thereafter, Lazzaro would communicate with the girls on social

media and invite them to his residence located at the Hotel Ivy. I know that Lazzaro lives

in the Hotel Ivy based on a review of property records and because victims were provided

his address and instructed to tell the hotel's desk clerk they were there to see "Tony in room

1920." I have also seen videos and photographs taken by victims from inside Lazzaro's
 residence in the Hotel Ivy. Once the girls arrived at Lazzaro's residence, they were enticed

 with alcohol and cash to engage in sexual acts. Medina would receive cash, alcohol, hotel

 accommodations, and travel for her role in the sex trafficking conspiracy.     Lazzaro has

 posted videos of himself running large amounts of cash through a digital money counter

 which had a bar of gold placed on top of the money counter.       The victims interviewed

 stated that Lazzaro always paid them in cash in exchange for sex with him.


        9.     According to Lazzaro's website, www.antonlazzaro.com.        he is the CEO,

 founder, and Director of Big Tent Republicans PAC. Lazzaro's website describes the PAC

as "a unique group dedicated to broadening the appeal of the Republican Party. The group

looks to redefine the Republican Party specifically to minority, LGBT, and women who

[Lazzaro] feels have been misinformed by the Democratic Party as well as neglected by

[Lazzaro's] own party." Lazzaro has owned the Gold River Group, LLC, for nine years,

which is a global consulting firm in online marketing. Lazzaro was born in Los Angeles,

California,   and attended Brigham     Young University.      Lazzaro   currently     lives in

Minneapolis, Minnesota.    Lazzaro's Twitter account is twitter.com/goptony.        Lazzaro is

also part-owner in Nonna Rosa's Ristorante Italiano located at 4168 West Broadway

Avenue in Robbinsdale, Minnesota.


       10.    Gisela Castro Medina (hereinafter Medina) is a 2020 graduate from Delano

Senior High School where she lived with her parents at 49XX Klaers Drive in Loretto,

Minnesota. Medina, eighteen years of age, is currently a freshman at the University of St.
 Thomas in Saint Paul, Minnesota, and lives on campus in the Brady Residence Hall in

 donn room 621.


                                   Interviews of Victim 1


        11.    On or about July 29, 2020, V-l (DOB xxlxxl2003) was interviewed by an

 investigator with the West Hennepin Police Department. Sometime in May 2020, V-1 was

 contacted by her friend, Medina, to see if V-1 wanted to make money by having sex with

men.     Medina    and V-1 initially      contacted     Lazzaro   through   a website   called

"SeekingArrangement."       SeekingArrangement        is an American "sugar daddy" dating

website founded in San Francisco, California in 2006. I know that this website is often

used by older men advertising themselves as a "sugar daddy" who offer to buy gifts and

provide a "lavish lifestyle" to another person--often    in exchange for sex.


       12.    V-1 and Medina went to Lazzaro's penthouse at Hotel Ivy where Lazzaro

provided them with alcohol. V-1 and Medina got drunk and had sex with Lazzaro. Lazzaro

paid V-1 $600 for the commercial sex acts, which was split with Medina. V-1 said Medina

set up other meetings between V-1 and Lazzaro through Lazzaro's Snap chat account,

"tonygop." V-1 told the West Hennepin Police Department that V-2 and V-3 were other

girls who had sex with Lazzaro in exchange for money.


       13.    On November 3,2020, I observed the FBI CAFI interview ofV-I.          V-1 said

that she was 14 years old and Medina was 16 years old when they first met. In May 2020,

V-I moved from Duluth, Minnesota, to Loretto, Minnesota, to live with Medina in
 Medina's parents' farmhouse. At some point, V-l and Medina decided that they needed

 money and discussed the SeekingArrangement       website. V-1 created her own account on

 the website using her telephone number and school email address. V-1 said she used her

 cell phone and her school laptop to communicate with individuals on the website. Medina

 also created an account on the website using Medina's cell phone number. V-l recalled for

 investigators a portion of Medina's cell phone number, which matches the phone number

that I have identified as Medina's in this investigation. After Medina and V-I set up their

accounts, Medina told V-1 she had found a "sugar daddy" who wanted them to send him a

picture of themselves. V-1 said they sent a "selfie" of themselves smiling. In return, they

were sent $50.00. Based on Snapchat records, I know that the Medina and V-l sent the

"selfie" to Lazzaro on May 12, 2020.


       14.    V-l said they believed the man they were communicating with lived in

downtown Minneapolis and his name was "Tony."         On or about May 13, 2020, Medina

told V-l that they were going to Lazzaro's apartment in downtown Minneapolis. V-l said

they went to Lazzaro's apartment in an Uber arranged by Lazzaro.        Once they entered

Lazzaro's building, Medina and V-l told the hotel staff they were there to see Tony in

1920. The hotel staff then accompanied them to an elevator and pushed a button for the

nineteenth floor. V-l recalled that Lazzaro's door had a gold door knocker in the form of

a lion. Lazzaro provided V -1 and Medina alcohol, and they got drunk.


       15.    V-l said that, while they were sitting in Lazzaro's living room during that

first meeting, V-1 told Lazzaro that she was sixteen years old. She recalled Lazzaro saying
the age of consent in Minnesota is sixteen so "we're fine." V-I said Lazzaro then took out

a stack of cash and asked them, "What would you do for this money?" Lazzaro told them:

"If you take off your shirts, I'll pay you $100. If your take ofIyourpants,   I'll pay you $200.

And if you have sex with me, I'll pay you $300." Lazzaro paid V-I and Medina $200 each

to kiss each other and $100 each to perform fellatio. V-1 and Medina then agreed to have

sex with Lazzaro in exchange for money.


       16.    V-l described a mirror on the ceiling of Lazzaro's bedroom and a security

camera on the ceiling of his living room. V-I overheard Lazzaro telling Medina that he

wanted her to recruit thirteen- and fourteen-year-olds      to have sex with him. V-I said

Lazzaro then gave them an envelope with cash inside. V-I said that she and Medina felt

they would have gotten more money if the had done more with him.


       17.    V-I returned to Lazzaro's apartment on several occasions with and without

Medina and engaged in sex with Lazzaro in exchange for money.             V-1 confirmed that

Medina would arrange for V-1 to have sex with Lazzaro. The arrangements were made

through Snapchat.   V-l said Medina would tell her to "get ready, you're leaving in an

hour." V-1 said after each time she was sent by Medina to have sex with Lazzaro, he would

give her an envelope with money, a portion of which was for V-I to give to Medina.


       18.    V-1 said that, on one occasion, Lazzaro showed her his Pomhub channel,

which depicted what she described as teenage girls having sex with men. Lazzaro told V-

1 that he recorded the videos, which appeared to have been recorded in someone's home.

Lazzaro talked to V-1 about being in some of his videos, but Lazzaro told her that she could
 not participate because she was not eighteen years old. V -1 said it was difficult to tell if

 the girls in the videos were really eighteen years old since body types are not all the same.


        19.    V-I said that she was involved in an incident with Medina and Medina's

boyfriend during the summer of 2020. V-l and Medina were visiting Medina's boyfriend

 at his home. While they were there, V-I observed Medina and her boyfriend having sex.

V-I said she thought Medina was being raped so she went outside and damaged Medina's

boyfriend's car. V-l said that, when the damage was discovered, the police were called

and came out and made a report. Medina's boyfriend demanded V-I pay for the damage,

but she did not have any money.       V -I said to get money, she contacted Lazzaro and

demanded the money he had previously given to Medina after V-1 had sex with him.


       20.    In the Snapchat documents I have reviewed. there was an exchange on July

29, 2020, between V-I and the Snapchat user "tonygop."              These records and my

investigation identify Snapchat user "tony gop" as Lazzaro. In the July 29 exchange, V-I

requested money from Lazzaro that he owed her as a result of Medina "pimping" her to

have sex with him in exchange for money. V -1 told Lazzaro that because Medina took a

cut of the money he gave her to-have sex with him that made Medina a "pimp." V-I told

Lazzaro that she knew three other girls that Medina recruited to have sex with him in

exchange for money. V -1 told Lazzaro that she had reported this to the police and that

Lazzaro could either pay V -1 $900 that he owed her or she would give his name, phone

number, and address to the police. Lazzaro responded "no."
        21.    V-l said that Lazzaro then had his attorney draft a Non-DisclosurelNon-

 Disparagement Agreement (NDA) that was to be signed by V-I, her father, Lazzaro, and

 Medina. V-1 said that she believed the agreement was Lazzaro's attempt to keep her from

 telling anyone about her being pimped by Medina to have sex with him in exchange for

 money. V-1 said that she and her father refused to sign the agreement.   I have reviewed

 law enforcement's   incident report detailing the damage that V-l did to Medina's

boyfriend's car, which was dated July 28, 2020. I have also reviewed the draft NDA, which

states Mr. Lazzaro and V-I "had a consensual interaction in the recent past."


                            Interviews with Victims 2 and 3


       22.    On July 30, 2020, sisters V-2 (DOB XXlXXl2003)              and V-3 (DOB

Xx/Xx/200 1) were interviewed by an investigator with the West Hennepin Police

Department. V-2 told the investigator that she was contacted by a male individual, W-l

(DOB XXIXXl2003),     to see ifV-2 and V-3 wanted to make money by having sex with a

man that W-l knew. V-2 agreed, and W-l provided her with the Snapchat name ''tonygop,''

and told her that it was the usemame for a guy named "Tony." V-2 subsequently identified

"Tony" as Anton Lazzaro.


      23.     V-2 said that she drove to Lazzaro's apartment at the Hotel Ivy with V-3 and

another friend. V-2 stated that, while she and V-3 were at Lazzaro's apartment, he asked

them to take off their clothes and kiss each other for money. V-2 and V-3 each had sex

with Lazzaro in exchange for money. Lazzaro paid them each $400 in cash. In total, V-2

and V-3 met with Lazzaro four times at his apartment and had sex in exchange for money.
      24.     On December 1, 2020. I observed the CAFI interview of V-2 and V-3. In

 addition to much of the same information V-2 has provided to law enforcement, V-3

described the multiple times she and her sister (V-2) went over to Lazzaro's penthouse to

have sex with him in exchange for cash.       Lazzaro used his cell phone to show V-3

pornographic pictures and videos that he produced in his penthouse and posted on Pornhub.

V-3 said that she recognized Lazzaro's furniture and other items in his home in the images

he showed her. V-3 said Lazzaro offered to pay her $6,000 to have sex with a friend of his

who was a "pornstar," which she declined. V-2 stated that while she, V-3, and one of their

friends were topless in his bed, she saw Lazzaro using his cell phone to take images of

them with their tops off. V-2 said she believed Lazzaro video recorded them and possibly

sent the video to someone else.


                            Interviews with Victims 4 and 5


       25.   On or about October 18, 2020, the FBI was contacted by W-3 who advised

that her daughter, V-4 (DOB XX/Xx/2003),      had met a man using the Instagram name

"MPLSTONY" and engaged in sex with him in exchange for money. Through open-source

research, I know that the profile page for the Instagram name MPLSTONY is associated

with the Snap chat username of "tonygop," and is Lazzaro.


      26.    On October 19,2020, I observed the FBI CAFI interview ofV-4.         Around

late summer 2020, V-5 (DOB XXlXXl2004), a friend ofV -4, received a Snapchat message

from someone V-5 knew (Medina) saying, "my sugar daddy thinks you're really pretty[,]

do you want his Snapchat?" V-5 replied "yes" because she wanted to make money. V-4
 and V-5 both began communicating with "tonygop" through Snapchat. V-4 referred to this

 man as "Tony" and his Instagram username as MPLSTONY.


        27.    V-4 and V-5 met Lazzaro at his residence in the Hotel Ivy.         When they

 arrived at the building, they went to the front desk and told the receptionist that they were

there to see Tony in unit 1920. V-4 and V-5 went up to Lazzaro's residence where they

engaged in sexual activity with Lazzaro. V-4 described a mirror hanging from the ceiling

above Lazzaro's bed, and she felt as though he was filming their sexual encounter. Lazzaro

gave V-4 a new iPhone and paid both V-4 and V-5 $800 each in exchange for the sex acts.

Lazzaro also gave V-4 and V-5 vaping cartridges.


       28.    At a later date, V-4 returned alone to see Lazzaro at his apartment. The visit

was arranged through Snap chat. During this visit, V-4 and Lazzaro engaged in sex, and he

gave her $500 and more vaping cartridges.


       29.    V-4 and V-5 told Lazzaro the name of the high school they attended, and,

through Snapchat, they told him that they were 16 years old. Lazzaro engaged in

commercial sex with them knowing their true age.


       30.    On October 21, 2020, I observed the FBI CAF! interview ofV-5. V-5 met

Lazzaro when Medina told her through Snapchat that her "sugar daddy" thought she was

cute and wanted to get her Snap. Medina told V-5 that she sometimes had sex with Lazzaro,

and he would buy her stuff in exchange. V-5 identified his Snap chat name as tony gop.
Lazarro would message V-5 through Snapchat and post pictures of money on his Snapchat

story.


         31.   V-5 said that, in August 2020, she and some friends, including V-4, drove to

the Mall of America. V-5 met Lazzaro inside Nordstrom where Lazzaro offered to pay her

to come home with him, but V-5 refused. They then went into the Prada store located inside

Nordstrom. V-5 said Lazzaro purchased her a purse from the Prada store. Lazzaro paid for

the Prada purse with his credit card. V-5 said she completed a registration card for the

purse using her personal information.    I obtained a copy of the receipt and surveillance

footage of the purchase, which shows V-5 meeting Lazzaro just outside of Prada. After a

short conversation, V-5 and Lazzaro entered the Prada store, and Lazzaro purchased a

Prada purse with his credit card. I have confirmed Lazzaro made the purchase with his

personal credit card. Based on my training and experience, I believe this purchase was

intended to entice V-5 to come back to his penthouse.


         32.   V-5 said Lazzaro would often text her and invite her over to his home, but

she declined. But after V-4 began messaging Lazzaro, V-4 wanted the two of them to go

to Lazzaro's house together with the hope that Lazzaro would give them money. V-5

eventually agreed.


         33.   V-5 knew that Lazzaro lived on the nineteenth floor of the Hotel Ivy. When

V-4 and V-5 arrived there, they were given a tour of Lazzaro's apartment. V-5 described a

television in the bathroom mirror. Lazzaro told V-4 and V-5 it was a two-way mirror and

"someone could be watching you and you wouldn't even know it." Based on my training
 and experience, I know that a camcorder with an SD card for storing recordings or other

 type of recording device can be positioned behind a two-way mirror to record images and

 a display monitor can be used to observe what is being recorded.


        34.     V-5 stated that they went to Lazzaro's bedroom where Lazzaro asked, "So

you're sixteen, right?" Lazzaro then told V-4 and V-5 to take off their clothes, and they

engaged in sexual activity with Lazzaro. V-5 performed oral sex on Lazzaro. V-5 noticed

a mirror above Lazzaro's bed that was not flat against the ceiling. It hung down away from

the ceiling and was surrounded by lights. V-5 thought about the possibility that Lazzaro

had a video camera behind the mirror. Lazzaro gave V-5 $500 in fifty-dollar bills and gave

V-4 a phone that cost $1,000 and $800 in one hundred-dollar bills in exchange for sex. As

they were leaving, Lazzaro asked if they wanted some vape pens. V-5 said she and V-4

took as many vape pens as they could carry.


        35.     About a week and a half later, Lazzaro asked V-5 to come over to his home,

and V-5 agreed. V-5 said she performed oral sex on Lazzaro and then he put on a condom

and vaginally penetrated her. V-5 said Lazzaro then made her lay on her side while he

penetrated her vaginally from behind. Lazzaro gave V-5 $500 in fifty-dollar bills and e-

cigarettes.   Over the days that followed, V-5 said Lazzaro continued to ask her to come

over to his home.
                                   Interview of Victim 6


       36.     On November     4, 2020, an FBI Agent and I interviewed           V-6 (DOB

XXlXXI2002).     V-6 knows Medina because they went to high school together in Delano.

V-6 knows that Medina is friends with a man named "Tony" who is interested in girls from

Delano. Medina told V-6 that Lazzaro was interested in meeting her after Medina showed

Lazzaro V-6's picture on Instagram. V-6 provided law enforcement with screen captures

of Snap chat messages from Medina.        One dated October 9, 2020, included a Snapchat

message from Medina saying "my sugar daddy saw u on my insta [Instagram] and wants

to meet u." The name on V-6's Snapchat photo was "GIISELAMEDINA."                 V-6 asked

Medina who she was talking about, and Medina replied «My BFF TONY" who gives her

$10,000 per month. V-6 declined Medina's solicitation.


       37.     In my training and experience, I know cell phones, tablets, and other

computers are used to communicate with victims, co-conspirators (bottoms), and potential

"johns" or commercial sex purchasers through Snapchat, Instagram, text messages,

Facebook Messenger, and various other apps.        As such, the cellular telephone would

include contact information, photographs, videos, text messages, and other communication

between the trafficker and the victims and the trafficker and co-conspirators.   I also know

that cellular telephones are used to take photographs and/or videos to advertise (via the

Internet) victims for commercial sex acts, often wearing minimal to no clothing, some of

which may constitute child pornography.    They also may be used to record sex acts as part

of the grooming or recruiting process.     Moreover, through the use of GPS technology,
cellular telephones are used to record locations or travel and communication. Cellular

telephones can also contain evidence that may be indicative of obstruction or the attempt

to obstruct or in any way interfere with or prevent the enforcement of federal sex trafficking

laws.    Cellular telephones can also contain evidence that may be indicative of the

concealment and/or use of illicit proceeds from commercial sex to further promote the

commercial sex or "pimping" business through email, text messages, and online banking

and online purchasing activities.     It is likely that such information would remain on a

cellular telephone or indicia of such evidence would be available through forensic review

of such a device.


        38.      I also know that recording devices can be hidden in areas, to include behind

mirrors, to covertly record individuals engaging in illicit sexual activities and that these

devices can store recordings on SD cards or other storage devices contained within them.


                                       TECHNICAL TERMS

        39.      Based on my training and experience, I use the following terms to convey

the following meanings:


        a. Cellular telephone: A cellular telephone (or cell phone, mobile telephone, or

              wireless telephone) is a handheld wireless device used for voice and data

              communication through radio signals. These telephones send signals through
    made to and from the phone.      In addition to enabling voice communications,

    wireless telephones offer a broad range of capabilities.         These capabilities

    include: storing names and phone numbers in electronic address books; sending,

    receiving, and storing text messages and email; taking, sending, receiving, and

    storing still photographs and video; storing and playing audio files; storing dates,

    appointments, and other information on personal calendars; and accessing and

    downloading information from the Internet.         Cellular telephones may also

    include global positioning systems ("GPS") technology for determining the

    location of the device.

b. Digital camera and camcorder: A digital camera is a camera that records pictures

   as digital picture files, rather than by using photographic film. Digital cameras

   use a variety of fixed and removable storage media to store their recorded

   images. Images can usually be retrieved by connecting the camera to a computer

   or by connecting the removable storage media to a separate reader. Removable

   storage media include various types of flash memory cards or miniature drives.

   Most digital cameras also include a screen for viewing the stored images. This

   storage can contain any digital data, including data unrelated to photographs or

   videos.

c. Portable media player: A portable media player (or "MP3 Player" or iPod) is a

   handheld digital storage device designed primarily to store and play audio,

   video, or photographic files. However, a portable media player can also store

   other digital data.   Some portable media players can use removable storage
    media. Removable storage media includes various types of flash memory cards

    or miniature hard drives. This removable storage media can also store any digital

    data. Depending on the model, a portable media player may have the ability to

    store very large amounts of electronic data and may offer additional features

    such as a calendar, contact lists, clock, or games.

d. PDA: A personal digital assistant, or PDA, is a handheld electronic device used

    for storing data (such as names, addresses, appointments, or notes) and utilizing

   computer programs.       Some PDAs also function as wireless communication

   devices and are used to access the Internet and send and receive email. PDAs

   usually include a memory card or other removable storage media for storing data

   and a keyboard and/or touch screen for entering data. Removable storage media

   include various types of flash memory cards, USB drives, external hard drives

   and/or miniature hard drives. This removable storage media can store any digital

   data.   Most PDAs run computer software, giving them many of the same

   capabilities as personal computers.     For example, PDA users can work with

   word-processing documents, spreadsheets, and presentations.      PDAs may also

   include GPS technology for determining the location of the device.

e. IP Address: An Internet Protocol address (or "IP address") is a unique numeric

   address used by computers on the Internet.      An IP address is a series of four

   numbers, each in the range 0 - 255, separated by periods (e.g. 121.56.97.178).

   Every computer attached to the Internet must be assigned an IP address so that

   Internet traffic sent from and directed to that computer may be directed properly
             from its source to its destination. Most Internet service providers control a range

             of IP addresses. Some computers have static - that is, long-term IP addresses,

             while other computers have dynamic - that is, frequently changed IP addresses.

       f. Internet: The Internet is a global network or computers and other electronic

             devices that communicate with each other. Due to the structure of the Internet,

             connections between devices on the Internet often cross state and international

             borders, even when the devices communicating with each other are in the same

             state.


       40.       Based on my training, experience, and research, I know a wireless telephone

has capabilities that allow it to access the Internet and to serve as a wireless telephone,

digital camera, portable media player, GPS navigation device, and PDA. In my training

and experience, examining data stored on devices of this type can uncover, among other

things, evidence that reveals or suggests who possessed or used the device.


                ELECTRONIC        STORAGE AND FORENSIC              ANALYSIS


      41.       Based on my knowledge, training, and experience, I know electronic devices

can store information for long periods of time, including evidence of child pornography.

Similarly, things that have been viewed via the Internet are typically stored some period of

time on the device. This information can sometimes be recovered with forensic tools.


      42.       Forensic evidence.   As further described in Attachment B, this application

seeks permission to locate not only electronically stored information that might serve as
direct evidence of the crimes described on the warrant, but also forensic evidence that

establishes how the Devices were used, the purpose of their use, who used them, and when.

There is probable cause to believe that this forensic electronic evidence might be on the

devices to be seized because:


      a. Data on the storage medium can provide evidence of a file that was once on the

          storage medium but has since been deleted or edited, or of a deleted portion of a

          file (such as a picture that has been deleted).

      b. Forensic evidence on a device can also indicate who has used or controlled the

          device. This "user attribution" evidence is analogous to the search for "indicia

          of occupancy" while executing a search warrant at a residence.

      c. A person with appropriate familiarity with how an electronic device works may,

         after examining this forensic evidence in its proper context, be able to draw

         conclusions about how electronic devices were used, the purpose of their use,

         who used them, and when.

      d. Identifying the exact electronically stored information on a storage medium

         necessary to draw an accurate conclusion is a dynamic process.          Electronic

         evidence is not always data that can be merely reviewed by a review team and

         passed along to investigators.    Whether data stored on a computer is evidence

         may depend on other information stored on the computer and the application of

         knowledge about how a computer behaves. Therefore, contextual information

         necessary to understand other evidence also falls within the scope of the warrant.
        e. Further, in rmding evidence of how a device was used, the purpose of its use,

             who used it, and when, sometimes it is necessary to establish that a particular

             thing is not present on a storage medium.


       43.      Nature of examination. Based on the foregoing, and consistent with Rule

41(e)(2)(B), the warrant I am applying for would permit the examination of the devices

consistent with the warrant.       The examination       may require authorities to employ

techniques, including but not limited to computer-assisted scans of the entire medium, that

might expose many parts of the devices to human inspection in order to determine whether

it is evidence described by the warrant.


       44.      Manner of execution. Because this warrant seeks permission to enter

Lazzaro's residence, the execution of this warrant does involve physical intrusion by law

enforcement. Consequently, I submit there is a reasonable cause for the Court to authorize

execution ofthe warrant at any time in the day or night.


                                      CONCLUSION

       45.     The victims in this investigation have told me and other members of law

enforcement that Lazzaro knew their ages and, in some cases, where they attended high

school. Lazzaro discussed "age of consent" in Minnesota, knowing it to be 16 years of

age. One victim told law enforcement that Lazzaro requested that Medina identify and

recruit thirteen- and fourteen-year-old girls to have sex with him.
        46.      Based on information provided by one of the victims, Lazzaro provided her

 and other girls alcohol before engaging in sex acts. While they were in Lazzaro's bed, she

 saw Lazzaro using his cell phone to take photos of them with their tops off. She believed

 that he videotaped them and possibly sent the video to someone else.


        47.     Some victims reported that Lazzaro showed them videos and photographs of

pornographic images on his cell phone that he said he created and uploaded to the porn

website Pornhub.      One of the victims could not confirm if the girls in videos and

photographs Lazzaro showed her were eighteen years old or not.


        48.     Based on my knowledge, training, and experience, I know that cellular

telephones and other computers are commonly used in connection with criminal activities

such as communicating      with co-conspirators   for the purpose of facilitating the sex

trafficking    of minors, and the production,     distribution,   and possession   of child

pornography.     Based on the foregoing, I believe there is probable cause to believe that

Lazzaro used cameras, computers, cellular telephones, and external media storage devices

to, among other things: to take or create digital images of the above-mentioned individuals

and possibly other juvenile victims; and to communicate, via text message, Snapchat, and

Instagram in an attempt to facilitate Sex Trafficking of Juveniles in violation of Title 18,

United States Code, Sections 1591 and 1594; and in the Production, Attempted Production,

Distribution, and Possession of Child Pornography, in violation of Title 18, United States

Code, Sections 2251 and 2252.
      49.    I submit that this affidavit supports probable cause for a search warrant

authorizing the seizure and examination of the locations described in Attachment A to seek

the items described in Attachment B.


                                             Respectfully submitted,




                                             Richard A. Waller
                                             Special Agent
                                             Federal Bureau of Investigation

      Subscribed and sworn to before me
      using reliable electronic means (Facetime
      and email) on December __f:J_, 2020:



    &}ruAMtdEZ
      UNITED STATES MAGISTRATE ruDGE
                                    ATTACHMENT A

                                Property To Be Searched

       This warrant authorizes the search of Anton Lazzaro's residence located in the Hotel
Ivy, 201 South 11th Street, Unit 1920, in downtown Minneapolis, Minnesota. His
residence is at the penthouse level, which is the 19th floor of the hotel. The hotel is tan in
color and the main entrance is in the front of the building.




                                             --::,..-   ..

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                                 ATTACHMENTB

                          Particular Things To Be Seized

1. All records that relate to the violations of Title 18, United States Code, Sections

   1591, 1594,2251, and 2252, including but not limited to:

    a. lists of commercial sex buyers and related identifying information;
    b. human trafficking activity such as dates, process, offers for sex, descriptions of
       sexual services offered, solicitation of others, communication between
       traffickers and trafficked victims;
   c. cellular telephones and the videos and/or photographs produced by and stored
      on such devices and/or internal media such as SD cards depicting child
      exploitation known as child pornography;
   d. camcorders and/or other live-action recording devices and videos stored on
      such devices and/or internal media such as SD cards depicting child
      exploitation known as child pornography;
   e. text message communications stored on devices, including messages sent
      through messaging applications, such as Snapchat, Instagram, and
      SeekingArrangement.com;
   f. hotel transactions and other receipts related to commercial sex and/or
      prostitution activity;
   g. call history and contacts;
   h. any information related to human trafficking activity (including names,
      addresses, phone numbers, online postings or advertisements, or any other
      identifying intormation);
   1.transportation records, including GPS location information, IP addresses, travel
     receipts, and other records, including with Lyft, Uber and similar services;
  J. all bank records, checks, credit card bills, cash withdrawal records, account
     information, Pay Pal, Bitcoin, Venmo, and other such financial records;
  k. all purchase and registration records, including receipts from Nordstrom and
     Prada;
  1. all travel records for Minnesota and within the United States, to include the
     manner and method of payment;
  m. all ledgers, account records, payments, promissory notes or contracts related to
     payments and bank deposits made to facilitate child exploitation;
    n. all U.S. currency, gold bars, and other financial instruments which could be
       used in exchange for sex; and
    o. all vaping pens, vaping cartridges, and other nicotine products.

2. Evidence of user attribution showing who used and/or owned devices at the time
   the events described in this warrant were created, edited, or deleted, such as logs,
   phonebooks, saved usernames and passwords, documents, social media usernames
   and/or identities and social media activities, and browsing history.

3. Records evidencing the use of the Internet to communicate, including:
    a. Internet history as it relates to human trafficking and child pornography
       activity such as Pornhub.com and similar websites, as well as chat line history;
    b. Internet history as it relates to commercial sex acts, sex trafficking, money
       laundering, and child pornography, through the use of Snapchat, Instagram,
       Facebook, and similar websites and social media platforms;
    c. Records of Internet Protocol addresses used; and
    d. Records of Internet activity, including firewall logs, caches, browser history
       and cookies, "bookmarked" or "favorite" web pages, search terms that the user
       entered into any Internet search engine, and records of user-typed web
       addresses.
                        SEARCH WARRANT ADDENDUM

1.   In conducting the search authorized by this warrant, the government shall
     make reasonable efforts to utilize search methodology that avoids searching
     files, documents or other electronically stored information which is not
     identified in the warrant.

2.   If electronically stored data, information, documents or other records have
     been identified and seized by the government pursuant to this warrant, the
     government may retain the electronic storage device (e.g., computer, hard
     drive, mobile device, smartphone, cell phone). The person from whom the
     electronic storage device was seized may request that the government provide
     him or her with electronic copies of the data, information, documents or other
     records by making a written request to the United States Attorney's Office,
     identifying with specificity the data, information, documents or other records
     sought to be copied. The government must respond to all such requests within
     a reasonable amount of time, and must provide a copy of the electronically
     stored data, information, documents or other records requested unless the
     copies requested constitute contraband, instrumentalities, or property subject
     to forfeiture.

3.   Nothing in this wanant shall limit 01' pI'event the government from seizing the
     electronic storage device as contraband or an instrumentality of a crime or
     commencing forfeiture proceedings against the electronic storage device and
     the data contained in the device. Nothing in this warrant shall limit or prevent
     the owner of the electronic storage device, files, software, hardware, data,
     information, documents or other records from (a) filing a motion with the Court
     pursuant to Rule 41(g) of the Federal Rules of Criminal Procedure for the
     Return of Property, or (b) making a request of the government to return certain
     specified electronic storage devices, files, software, hardware, data,
     infOl'mation, documents or other records.

4.   The government shall establish a search methodology governing the review of
     seized data to ensure that no attorney-client privileged communications will
     be inadvertently reviewed by the prosecution team. In the event that data
     seized pursuant to this wan-ant are identified by the government as possibly
     containing attorney-client privileged communications, an Assistant United
     States Attorney, who is not a member of the prosecution team and who is not
     participating in the search, shall act as a "taint team" to set up an ethical wall
     between the evidence and the prosecution team that will prevent any
     privileged material from getting through to the prosecution team.
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                                       UNITED STATES DEPARTMENT OF JUSTICE
                                                 FEDERAL BUREAU OF INVESTIGATION

                                                     Receipt for Property
Case 10:     305G-MP-3335032

           On (date)      12/15/2020                            item (s) listed below were:
                                                                I!I Collected/Seized
                                                                D Received From
                                                                B   Returned To
                                                                    Released To
(Name)      ANTON LAZZARO

(Street Address) 201 SOUTH 11TH ST; UNIT 1920

(City)   MINNEAPOLIS



Description ofItem (s):

 1. WINDOWS SURFACE WI CHARGING CORD - KITCHEN ON COUNTER - ROOM F (BURNHAM)

2. BLACKBERRY PHONE - ON THE BED PLUGGED IN - ROOM I - IMEI: 015103000107958 W/ 32G SD CARD

 (SCHANTZEN)

 3. PUFF BAR 01ARIETY) - ON WASHER/DRYER - ROOM A (DAWSON)

4. PUFF BAR 01ARIETY) - WASHER/DRYER - ROOM A (DAWSON)

 5. PEACH ICE PUFF BAR - BEHIND BEDIHEADBOARD - ROOM I (SCHANTZEN)

 6. VAPE CIGARETTE - IN NIGHTST AND - ROOM I (SCHANTZEN)

 7. TRACKER - CLOSET DRAWER - ROOM E (DAWSON)

 8. HANDWRITTEN NOTESIP ASSWORD SHEET - KITCHEN DRAWER - ROOM F (BURNHAM)

 9. US CURRENCY $5,445.00 (32 X $100S, 38 X $ 50S, 21 X $20S, 2 X $lOS, 1 X $5S) ROOM G - TOP DRWAER END TABLE

 (BURNHAM)

 10. CO-PERFORMER RELEASE AGREEMENTS - ROOM G - LEFT SIDE DESK - (HANSON)

 11. US CURRENCY - ROOM G - IN WALLET ONTOP OF END TABLE $4,283. 00 (42X$I00S, 3X$20S, lX$lO, lX$5, 8X$I)

 (BURNHAM)

 12. CELLPHONE BITTIUM - ROOM G - ON DESK (HANSON

 13. BLACK/SILVER IPHONE ROOM G - ON DESK (HANSON)

 14. LG CELL PHONE - ROOM G - ON DESK (HANSON)

 15. IPH


                                       (Signature)                                            (Signature)


Printed Name/Title:-KtC4                W,J2-D       A ~L(A   LLJ,!_ !Z.Printed Name/Title:
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FD-597 (Rev. 4-13-2015)                                                                     Page _2       of 4


                                       UNITED STATES DEPARTMENT OF JUSTICE
                                                 FEDERAL BUREAU OF INVESTIGATION

                                                     Receipt for Property
Case ID:     305G-MP-3335032

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                                                             B   Returned To
                                                                 Released To
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(Street Address) 201 SOUTH II TH ST; UNIT 1920

(City)   MINNEAPOLIS



Description ofItem (s):       16. LG CELLPHONE - ROOM G - ON DESK (HANSON)

17. WHlTElBLACK MOTOROLLA CELLPHONE - ROOM G - ON DESK (HANSON)

 18. GRAY/BLACK MOTOROLLA CELLPHONE - ROOM G - ON DESK (HANSON)

 19. LEDGER NANO S CRYPTO CURRENCY FLASH DRIVE WALLET - ROOM G - ON DESK (HANSON)

20.KEEP KEY (DIGITAL) - ROOM G - ON DESK (HANSON)

21. INSPIRAN DELL LAPTOP; SER# 43271725539 - ROOM G - ON DESK (HANSON)

22. DELL SILVER XPS LAPTOP - ROOM G - ON DESK (HANSON)

23.14X SD CARDS,2X THUMB DRIVES - ROOM G- MIDDLE DRAWER, END TABLE (BURNHAM)

(PREVIEWED BY BCA TEAM DME AT 0820 HOURS)

24. 2X THUMB DRIVES - ROOM G - BOTTOM DRAWER END TABLE (BURNHAM) - PREVIEWED BY BCA TEAM 0820

25. CASH LEDGER - ROOM G IN SAFE TOP DRAWER (BURNHAM)

26. XIAOMI PHONE - SER# 188848/28VNOO206IN THE RED TREASURE CHEST - ROOM G (BURNHAM)

27. TCL CELL PHONE - IN THE RED TREASURE CHEST - ROOM G (BURNHAM)

28. BLACK IPHONE - IN THE RED TREASURE CHEST - ROOM G (BURNHAM)

29. GRAY/BLACK BLACKBERRY - IN THE RED TREASURE CHEST - ROOM G (BURNHAM)

30. US VALUE $819 - DINARI - (39X $25,000 DINARI NOTES) FROM THE SAFE - ROOM G(GERNENTZ)

31.US VALUE $2,906.64 - HYRVNIA (403X $200 NOTES, 5X $20 NOTES, 4X $10 NOTES) FROM THE SAFE - ROOM G (GERNl

32. US VALUE $33,150 (663 $50 DOLLAR BILLS) - FROM THE SAFE - ROOM G (GERNENTZ)

33. US CURRENCY 2962.00 (132X $20, 25X $10, 3X$5, 3X$2, 51 X $1) - FROM THE SAFE - ROOM G (GERNENTZ)

Received By:                                                          Received From:
                                       (Signature)                                          (Signature)


Printed Name/Title:                                                   Printed Name/Title:
FD-597 (Rev. 4-13-2015)                                                                                  Page   _3         of   4

                                       UNITED STATES DEPARTMENT OF JUSTICE
                                                      FEDERAL BUREAU OF INVESTIGATION

                                                       Receipt for Property
Case ID:     305G-MP-3335032

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(City)   MINNEAPOLIS



Description ofItem (s):       34. US VALUE $4.88, (1 $500 JAMAICAN DOLLARS 6X $100 JAMICAN DOLLARS) - FROM THE SAFE

35. US VALE 325,400.00 (3254X $100) - FROM THE SAFE - ROOM G (GERNENTZ)

36. US VALUE $15.71 (4X $5 CANADIAN DOLLAR BILLS) FROM THE SAFE - ROOM G (GERNENTZ)

37. US $171.56 (2X$500 BILLS - CHINESE, 3X $100 BILLS, lX$20, lX$lO) - FROM THE SAFE - ROOM G (GERNENTZ)

38. US VALE .20 (1 REAL BRAZILLIAN) - FROM THE SAFE - ROOM G (GERNENTZ)

39. US VALUE $66.70 (UAE lX$200 NOTE, 2X$20 NOTES, lX$5 NOTE), FROM THE SAFE - ROOM G (GERNENTZ)

40. US VALUE .31 (YUAN lX$2 NOTE) - FROM THE SAFE - ROOM G (GERNENTZ)

41. US VALUE $134.98 (YENS lX$10,OOONOTE, 4X$1000 NOTE) - FROM THE SAFE - ROOM G (GERNENTZ)

42. US VALUE $6,283.00 (EURO 102X$50 NOTES, lX$20 NOTE, 2X$1O NOTES, 2X$5 NOTES) - FROM THE SAFE - ROOM G                            (4

43. WINDOWS SURFACE TABLET - ON THE BOOKCASE - ROOM G (WALLER)

44. 504 OUNCES GOLD- IN SAFE - ROOM G (BURNHAM)                     * AS STAMPED      ON ITEM

45.0NE (l ) KILO OF GOLD - IN SAFE - ROOM G (BURNHAM)                   * AS STAMPED      ON ITEM

46. ONE (1) GOLD COIN - LABLED $50.00 - IN SAFE - ROOM G (BURNHAM) * AS STAMPED ON ITEM

 47.3,455 OUNCES OF SILVER - IN SAFE - ROOM G (BURNHAM)                    * AS STAMPED ON ITEM
48. SIX (6) ONE OUNCE SILVER DOLLAR COINS - IN SAFE - ROOM G (BURNHAM)                          * AS STAMPED ON ITEM
49. ONE $50 CANDADIAN COIN (LISTED AS ONE OUNCE PALADIAN) - IN SAFE - ROOM G (BURNHAM)                                  * AS STAMPED (
50. ONE OUNCE OF PALADIAN - IN SAFE - ROOM G (BURNHAM)                       * AS STAMPED ON ITEM
51. ONE OUNCE OF RHODIUM - IN SAFE - ROOM G (BURNHAM)                       * AS STAMPED       ON ITEM

52. ONE OUNCE PLATNUM BAR - IN SAFE - ROOM G (BURNHAM)                        * AS STAMPED ON ITEM

Received By:                                                              Received From:
                                       (SignatlITe)                                                      (SignatlITe)


Printed Name/Title:                                                       Printed Name/Title:
FD-597 (Rev. 4-13-2015)                                                                            Page   _4      of   4

                                       UNITED STATES DEPARTMENT OF JUSTICE
                                                 FEDERAL BUREAU OF INVESTIGATION
                                                     Receipt for Property
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                                                            rn  Collected/Seized
                                                            D Received From
                                                            B   Returned To
                                                                Released To
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(Street Address) 201 SOUTH 11TH ST; UNIT 1920

(City)   MINNEAPOLIS



Description ofItem (s):       53.112 POUND OF COPPER - IN SAFE - ROOM G (BURNHAM)          * AS STAMPED   ON ITEM

54. CONTRACTS + STI PANELS ONLY TINY TEENS - IN OFFICE - ROOM G (GERENTZ)

55. LOAN CONTRACT AND DRIVING RECORD - IN OFFICE - ROOM G (GERENTZ)

56. UKRAINE CURRENCY RECEIPTS - IN OFFICE - ROOM G (FREDERICK)

57. NOTES REALESTATE HOUSE BIDS - ROOM G (FREDERICK)

58. CRYPTO CURRENCY WALLET - ON DESK - ROOM G (WALLER)




Received By:                                                         Received From:
                                       (Signature)                                                  (Signature)


Printed Name/Title:                                                  Printed NameITitle:
